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   RICHARD A. MARSHACK
 8

 9                                    UNITED STATES BANKRUPTCY COURT
10                     CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
11    In re                                                 Case No. 8:18-bk-13864-ES
12    FRIENDLY VILLAGE GP, LLC,                             Chapter 7
13                       Debtor.                            MOTION FOR ORDER AUTHORIZING
                                                            USE OF ESTATE PROPERTY UNDER
14                                                          11 U.S.C. § 363 TO SIGN SALE
                                                            DOCUMENTS; MEMORANDUM OF
15                                                          POINTS AND AUTHORITIES; AND
                                                            DECLARATION OF RICHARD A.
16                                                          MARSHACK IN SUPPORT
17                                                          Hearing
                                                            Date:       December 19, 2019
18                                                          Time:       10:30 a.m.
                                                            Ctrm:       5A
19                                                          Address:    411 W. Fourth Street
                                                                        Santa Ana, CA 92701
20

21

22 TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY COURT

23 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, FRIENDLY VILLAGE MHP

24 ASSOCIATES, L.P., AND ALL INTERESTED PARTIES:

25            Richard A. Marshack, in his capacity as Chapter 7 Trustee (“Trustee”) of the bankruptcy
26 estate (“Estate”) of Friendly Village GP, LLC (“Debtor”), hereby moves this Court for an order

27 authorizing the Trustee to exercise the powers of the Debtor in its capacity as the general partner of

28 Friendly Village MHP Associates, L.P. (“FV LP”). In particular, the Trustee seeks authorization

                                                1
          MTN TO AUTHORIZE USE OF ESTATE PROPERTY (MANAGEMENT RIGHTS) TO SIGN SALE DOCS
     4813-0772-0364, v. 1/1015-124
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 1 from this Court to sign a grant deed transferring title in property owned by FV LP, an assignment,

 2 bill of sale, and any other necessary sale documents in his capacity as trustee of the Debtor.

 3            While the Trustee believes he has authority to sign any sale documents for FV LP in his
 4 capacity as the Trustee of FV LP, this Motion is being brought out of an abundance of caution and to

 5 avoid any delay in the sale of the property of FV LP, in the event escrow or title question his

 6 authority.

 7 1.         Summary of Argument
 8            A Chapter 7 Trustee may, for the benefit of creditors, use property of the Estate including
 9 powers exercisable by a debtor. Whatever powers remain in this Debtor to sign a grant deed,

10 assignment, bill of sale and other necessary sale documents (“Sale Documents”) as general partner

11 of FV LP should be granted to the Trustee, and the Trustee should be authorized to sign such Sale

12 Documents in connection with a sale of FV LP’s property, provided that such sale is approved by the

13 Court. To clarify, the Trustee simply seeks authorization to perform what amounts to an

14 administrative function to transfer title in the event of a sale – this Debtor has no further interest in

15 the property proposed to be sold.

16 2.         Factual Background
17            On October 21, 2018 (“Petition Date”), Debtor filed a voluntary petition under Chapter 7 of
18 Title 11 of the United States Code. Richard A. Marshack (previously defined as “Trustee”) is the

19 duly appointed and acting trustee for the Debtor.

20            The Debtor is the general partner of Friendly Village MHP Associates, L.P. (previously
21 defined as “FV LP”), a California limited partnership which owns a mobile home park located at

22 5450 North Paramount Blvd., Long Beach, California 90805 (“Property”). Debtor is owned by the

23 family trusts of the two principals of FV GP, Mr. Michael Scott and Mr. Lee Kort.

24            Previously, on October 2, 2018, FV LP filed a separate bankruptcy petition under Chapter 7
25 of Title 11 of the United States Code. The Trustee is also the duly appointed and acting trustee in the

26 FV LP bankruptcy case.

27            In his capacity as the Chapter 7 trustee of FV LP, the Trustee was authorized to operate the
28 Property, which belongs to FV LP, while the Property was marketed for sale. FV LP is currently in

                                                2
          MTN TO AUTHORIZE USE OF ESTATE PROPERTY (MANAGEMENT RIGHTS) TO SIGN SALE DOCS
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 1 the process of finalizing the transaction whereby the Property will be sold, subject to overbid, to an

 2 interested and financially capable buyer submitting the best bid for the Property. In connection with

 3 such anticipated sale, the Property will be transferred via grant deed, and the Trustee seeks

 4 authorization to perform the administrative function of signing the grant deed and other Sale

 5 Documents as the representative for the Debtor, which remains the general partner of FV LP.

 6 3.         Legal Argument
 7            A.        The Debtor’s rights and powers as general partner for FV LP
 8                      constitute property of the Estate.
 9            The filing of a bankruptcy petition creates an estate comprised of “all legal or equitable
10 interests of the debtor in property as of the commencement of the case.” 11 U.S.C. § 541(a)(2).

11 Where a bankrupt entity has prepetition management rights of a partnership, such rights pass to the

12 Chapter 7 trustee. See, e.g., Kerry v. Schneider, 239 F.2d 896, 898 (9th Cir. 1956) (“The trustee, as

13 of the date of the filing of the petition, became possessed of all the right, title, and interest of the

14 bankrupt in the partnership.”); see also Union Planters National Bank v. Hunters Horn Associates

15 (In re Hunters Horn Associates), 158 B.R. 729, 730 (Bankr. M.D. Tenn. 1993); see also Cal. Corp.

16 Code § 15907.01 (“A transferable interest [in a limited partnership] is personal property.”). Under

17 California’s Uniform Limited Partnership Act of 1994, the general partner(s) of a limited partnership

18 have sole and co-equal management rights in the limited partnership. Cal. Corp. Code § 15904.06(a).

19            The Debtor in this case is the general partner of FV LP. Thus, as the Trustee steps into the
20 shoes of the prepetition debtor, the Trustee now holds the position of the general partner of FV LP,

21 to the extent that such general partner has not been supplanted by the appointment of a Chapter 7

22 trustee upon FV LP’s filing of a bankruptcy petition.

23            B.        The Trustee may use property of the Estate under 11 U.S.C. § 363(b).
24            A trustee “may use, sell, or lease, other than in the ordinary course of business, property of
25 the estate.” 11 U.S.C. § 363(b). Under Section 363(b), the court is obliged to “assure that optimal

26 value is realized by the estate under the circumstances.” Simantob v. Claims Prosecutor, L.L.C. (In

27 re Lahijani), 325 B.R. 282, 288 (B.A.P. 9th Cir. 2005). For a trustee to use property of the estate,

28 “there must be some articulated business justification for using, selling, or leasing the property

                                                3
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 1 outside the ordinary course of business… whether the proffered business justification is sufficient

 2 depends on the case.” Walter v. Sunwest Bank (In re Walter), 83 B.R. 14, 19-20 (B.A.P. 9th Cir.

 3 1988) (adopting the language of In re Continental Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir.

 4 1986); see also In re Plaza Family Partnership, 95 B.R. 166, 173 (E.D. Cal. 1989) (citing id.).

 5            In this case, the Trustee simply seeks authorization from the Court to sign Sale Documents in
 6 his capacity as representative for the Debtor, who is and was the sole general partner of FV LP.

 7 Specifically, the Trustee is requesting that he be authorized to sign Sale Documents to transfer the

 8 Property to the best and highest overbidder for the Property, pursuant to a soon-to-be noticed motion

 9 for sale of the Property, and only if the Court approves such sale. In this context, the Trustee is

10 simply serving the administrative function of signing the Sale Documents to consummate a sale

11 initiated by FV LP, for the benefit of the FV LP bankruptcy estate and its creditors. Thus, there is an

12 articulated business justification to authorize the Trustee’s use of the Debtor’s powers as general

13 partner (to the extent that such powers have not been supplanted by the appointment of a Chapter 7

14 trustee over FV LP when it filed bankruptcy) for the limited purpose of signing Sale Documents for

15 the anticipated transfer and sale of the Property.

16 4.         Conclusion
17            For all of the foregoing reasons, the Trustee respectfully requests that the Court grant this
18 Motion and enter an Order:

19            1.        Granting the Motion;
20            2.        Authorizing the Trustee to sign, as the authorized representative for the Debtor in its
21 capacity as general partner for FV LP, the Sale Documents effectuating any sale of the Property

22 which is approved by the Court in the FV LP bankruptcy case; and

23            3.        Any other relief which the Court considers just and proper.
24 DATED: November 26, 2019                                     MARSHACK HAYS LLP
25                                                              By: /s/ Kristine A. Thagard__________
                                                                     D. EDWARD HAYS
26                                                                   KRISTINE A. THAGARD
                                                                     TINHO MANG
27                                                                   Attorneys for Chapter 7 Trustee,
                                                                     RICHARD A. MARSHACK
28

                                                4
          MTN TO AUTHORIZE USE OF ESTATE PROPERTY (MANAGEMENT RIGHTS) TO SIGN SALE DOCS
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 1                                       Declaration of Richard A. Marshack
 2                I, RICHARD A. MARSHACK, say and declare as follows:
 3                1.        I am an individual over 18 years of age and competent to make this Declaration.
 4                2.        If called upon to do so, I could and would competently testify as to the facts set
 5 forth in this Declaration.

 6                3.        The facts set forth below are true of my personal knowledge.
 7                4.        I am the duly appointed and acting Chapter 7 Trustee (“Trustee”) of the
 8 bankruptcy estate (“Estate”) of Friendly Village GP, LLC (“Debtor”).

 9                5.        The Debtor is the sole general partner of Friendly Village MHP Associates, L.P.
10 (“FV LP”).

11                6.        I am also the duly appointed and acting Chapter 7 Trustee for the FV LP
12 bankruptcy estate.

13                7.        I anticipate filing a motion to sell the property owned by FV LP located at
14 5450 North Paramount Blvd., Long Beach, CA (“Property”) in the FV LP case, to sell the

15 Property to the highest and best overbidder for the benefit of the FV LP estate and its creditors.

16                8.        While I believe I have authority to sign any sale documents for FV LP in my
17 capacity as the Trustee of FV LP, this Motion is being brought out of an abundance of caution

18 and to avoid any delay in the sale of the property of FV LP, in the event escrow or title question

19 my authority.

20                9.        Therefore, to expeditiously consummate the anticipated sale, and to eliminate any
21 potential uncertainty for the anticipated buyer of the Property, I request authorization from the

22 Court to sign a grant deed on behalf of the Debtor to transfer the Property, in the event that the

23 Court approves a sale of the Property.

24                I declare under penalty of perjury that the foregoing is true and correct, and that this
25 declaration is executed on November 26, 2019.

26

27
                                                                  RICHARD A. MARSHACK
28                                                                Chapter 7 Trustee for Friendly Village GP, LLC
                                                       1
                                      DECLARATION OF RICHARD A. MARSHACK
     4813-0772-0364, v. 1
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: MOTION FOR ORDER AUTHORIZING USE OF ESTATE
PROPERTY UNDER 11 U.S.C. § 363 TO SIGN SALE DOCUMENTS; MEMORANDUM OF POINTS AND
AUTHORITIES; AND DECLARATION OF RICHARD A. MARSHACK IN SUPPORT will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
November 26, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
      Howard Camhi hcamhi@ecjlaw.com, tcastelli@ecjlaw.com;amatsuoka@ecjlaw.com
      Gary Fields , anna@fielslawcorp.com
      D Edward Hays ehays@marshackhays.com, 8649808420@filings.docketbird.com
      Richard A Marshack (TR) pkraus@marshackhays.com, rmarshack@iq7technology.com
      Kristine A Thagard kthagard@marshackhays.com, 8649808420@filings.docketbird.com
      Jeffrey G Thomas jgthomas128@gmail.com, usoldit@hotmail.com
      United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
      David Wood dwood@marshackhays.com, 8649808420@filings.docketbird.com
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On November 26, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
DEBTOR
FRIENDLY VILLAGE GP, LLC
320 N PARK VISTA STREET
ANAHEIM, CA 92806-3722
                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on November 26, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
  Via Personal Delivery                                              Attorneys for Plaintiffs/Tenants: via E-mail
  PRESIDING JUDGE’S COPY                                             Aram Ordubegian – aram.ordubegian@arentfox.com
  Bankruptcy Judge Erithe A. Smith.                                  Gary D. Fields – gary@fieldslawcorp.com
  United States Bankruptcy Court, Central District of California     Brian Kabateck – bsk@kbklawyers.com
  Ronald Reagan Federal Building and Courthouse
  411 West Fourth Street, Suite 5-097
  Santa Ana, CA 92701-4593
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   November 26, 2019                Chanel Mendoza                             /s/ Chanel Mendoza
   Date                     Printed Name                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
